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                                    UNITED STATES DISTRICT
                                     COURT DISTRICT OF
                                      MASSACHUSETTS



PRESIDENT AND FELLOWS OF HARVARD
COLLEGE,


                           Plaintiff,
           v.

                                                      Case No. 1:25-cv-11472-ADB
UNITED STATES DEPARTMENT OF
HOMELAND SECURITY, et al.,


                           Defendants.




           DEFENDANTS’ PROPOSED PRELIMINARY INJUNCTION ORDER


       Plaintiff and Defendants have, in good faith, conferred on a proposed preliminary

injunction. Defendants, in line with the Court’s directive, want to focus the preliminary

injunction on ensuring the SEVP withdrawal process is followed. Plaintiff, however, seeks three

unnecessary and problematic clauses that go beyond what is required at this stage. Plaintiff

requests (1) a broad prohibition that could sweep in other lawful action, (2) a premature 30-day

injunction against the results of the very procedures it sought, and (3) the disclosure of privileged

guidance documents to the public. The Court should reject these requests and adopt Defendants’

proposed order, which aligns with Plaintiff on the material points at issue. See Proposed Order

Redline.




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       First, Plaintiff seeks to include an overbroad and unnecessary clause in paragraph F: “any

other departure from the status quo by means of a categorical restriction of Plaintiff’s authority

to sponsor non-immigrant F visas or J visas.” The Government believes that either this clause is

redundant or sweeps far too broadly to include legal issues beyond those at issue in this proposed

preliminary injunction. The initial hearing (ECF 13) was premised on converting the first

Temporary Restraining Order (ECF 9) into a possible preliminary injunction. The purpose of the

proposed preliminary injunction order (ECF 50) was to maintain the status quo from that original

TRO. As Plaintiff’s original complaint (ECF 1 Counts I-X) and Motion for a Temporary

Restraining Order (ECF 9) make clear, this case was about the May 22, 2025, revocation of

Harvard’s SEVP certification, its Exchange Visitor Program designation, and the attendant

consequences. So that is all the proposed preliminary injunction should cover. Paragraphs A

through C, and the agreed parts of paragraph F, make clear that Harvard’s SEVP certifications

and Exchange Visitor Program designation cannot be revoked without going through the

procedures under 8 C.F.R. §§ 214.3, 214.4, and 22 C.F.R. Part 62. That suffices to maintain the

status quo “while the Notice of Intent to Withdraw process is ongoing.” ECF 50. As a result, the

contested language is unnecessary and should be struck because its scope is imprecise.

       The only reason Plaintiff would have to include this broad language is to sweep in other

potential actions by the Government. Other legal avenues for restricting Plaintiff’s foreign

students are not at issue in this proposed preliminary injunction. For example, the President

signed a Proclamation that is subject to a separate TRO (ECF 59) and is being briefed for a

preliminary injunction hearing on June 16 (ECF 60). That process should be fully litigated on

the merits rather than be prematurely subject to this proposed preliminary injunction. That is

especially the case because the Proclamation is a separate legal action under separate authority



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by a non-defendant. While the Government does not believe the Proclamation is a “categorical

restriction of Plaintiff’s authority to sponsor” F or J visas because it does not ban the entry of

existing students or restrict Plaintiff’s SEVP certification or Exchange Visitor Program

designation, the proposed clause could be interpreted that way. The Government wants to make

clear that this and other potential legal actions are not part of this proposed order and cannot be

enjoined now. Plaintiff must bear its burden to enjoin any other actions, as it implicitly

acknowledged by filing an amended complaint (ECF 54) and motion (ECF 56) to challenge the

Proclamation.

       Second, Plaintiff seeks a 30-day stay of any suspension, withdrawal, revocation,

termination, or other alteration of its SEVP certification or Exchange Visitor Program

designation under the procedures laid out in 8 C.F.R. §§ 214.3 and 214.4 or 22 C.F.R. Part 62.

The Government believes this premature Temporary Restraining Order is unwarranted. The

Court directed the Parties to confer on a proposed order so the “[s]tatus quo [will] remain in

place while the Notice of Intent to Withdraw process is ongoing.” ECF 50 (emphasis added).

The point of the order is to ensure the procedures are followed, not to freeze the results of that

process. In any event, preliminary relief requires an irreparable harm and likelihood of success.

But the procedures will take time. And there is no basis to stay the result of that process without

knowing what the outcome or reasoning will be. That is especially so when the Government is

using these procedures to address some of the concerns Harvard raised in this suit. The gap in

time, agency decision makers, and reasoning will alter any possible retaliation analysis. And if

the agencies determine there is an immediate need to withdraw Harvard’s SEVP certification or

EVP designation, the Government may be irreparably harmed by being prematurely forced to

wait 30 extra days to do so. On the other hand, if Harvard believes there are still issues with the



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decision, it can quickly move for relief (as it did twice here) taking the new facts into account

and permitting full briefing of the issues.

       Third, in paragraph H, Plaintiff seeks to require Defendants to publicly provide “a copy

of the guidance” for compliance with the preliminary injunction. Such guidance is drafted by or

in consultation with agency attorneys to advise their agencies on complying with court orders.

Thus, guidance documents fall squarely within the attorney client and work product privileges.

See Hawkinson v. Immigr. & Customs Enf’t, 554 F. Supp. 3d 253, 269 (D. Mass. 2021)

(guidance from ICE attorneys on how to implement injunction is work product); New York Times

v. U.S. Dep’t of Just., 101 F. Supp. 3d 310, 322–24 (S.D.N.Y. 2015) (guidance memorandum

drafted by agency lawyers to advise agency personnel on how to comply with changes in the law

were protected work product). While the Government may sometimes voluntarily share these

documents, that is not the norm, and it is under no obligation to do so. The Government does not

wish to waive its privileges here and cannot be forced to do so. See Anderson v. Montgomery

Ward & Co., 1987 WL 5682, at *1 (N.D. Ill. Jan. 16, 1987) (“It is settled law that a litigant may

not force an opposing party to waive the attorney-client privilege”). And there is no need for it

to do so here. If there are compliance issues, Harvard is free to raise them. Seeing internal

guidance documents from the Defendants will not change this; it will only serve to intrude on the

attorney-client relationship between agency attorneys and the implementing employees.

       Defendants’ proposed order more than accomplishes the Court’s goal of maintaining the

status quo with regard to the Harvard SEVP certification and EVP designation while the

administrative process plays out. ECF 50. Plaintiff’s additions are unnecessary for that purpose

and raise a number of serious concerns. As a result, the Court should enter Defendants’ modified

preliminary injunction order.



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Dated: June 12, 2025               Respectfully submitted,

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                                CERTIFICATE OF SERVICE


        I, Tiberius Davis, hereby certify that I served a true copy of the above document upon all

counsel of record via this court’s electronic filing system and upon any non-registered participants

via first class mail.



Dated: June 12, 2025                                 /s/ Tiberius Davis
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